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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                          CRIMINAL ACTION

VERSUS                                                                          No. 11-70

RUSSELL DAVIS                                                                SECTION I

                                ORDER & REASONS

       Before the Court is defendant Russell Davis’s (“Davis”) motion 1 for post-

conviction relief pursuant to Rules 60(b)(4) and (6) of the Federal Rules of Civil

Procedure. The government opposes the motion. 2 Because the Court concludes that

Davis’s motion is a successive petition for relief under 28 U.S.C. § 2255, the motion

is transferred to the United States Court of Appeals for the Fifth Circuit pursuant to

28 U.S.C. § 1631.

                                            I.

       On December 1, 2011, Davis pled guilty to counts three through seven of a ten-

count indictment. 3 Counts three and seven charged him with distributing and

possessing with the intent to distribute a quantity of cocaine base, in violation of 21

U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2. 4 Counts four, five, and six charged

him with distributing and possessing with the intent to distribute 28 grams or more

of cocaine base, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(B), and 18 U.S.C. § 2. 5



1 R. Doc. No. 429.
2 R. Doc. No. 436.
3 R. Doc. No. 125
4 R. Doc. No. 36.
5 Id.
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      The government also filed a “Bill of Information to Establish Prior Conviction”

on December 1, 2011, which stated that “[o]n August 22, 2008, in the Criminal

District Court for the Parish of Orleans, State of Louisiana . . . the defendant, Russell

Davis, pled guilty to the charges [sic] of possession of cocaine (crack) in violation of

LA. R.S. 40:967(C)(2), [for which] [h]e was sentenced to serve two years in the custody

of the Louisiana Department of Corrections.” 6

      The Court sentenced Davis on March 23, 2012. 7 With a total offense level of

27, criminal history category of IV, and mandatory minimum sentence of 120 months

for counts four, five, and six pursuant to 21 U.S.C. § 841(b)(1)(B), Davis’s advisory

guidelines range was 120 to 125 months. 8 The Court found that Davis’s criminal

history category of IV substantially underrepresented the seriousness of his criminal

history and the likelihood that he would commit other crimes and that, therefore, an

upward departure was warranted. 9 The Court found an offense level of 29 and a

criminal history category of VI to be appropriate, placing the range of punishment

between 151 months and 188 months. 10 The Court sentenced Davis to a term of

imprisonment of 125 months as to each of counts three and seven and 180 months as




6 R. Doc. No. 119.
7 R. Doc. No. 180.
8 R. Doc. No. 217, at 3:25–4:3–4. According to the sentencing transcript, the Court

noted that “counts 4, 5, and 6 have a statutorily required minimum sentence of 120
months” and then concluded that “the advisory guideline imprisonment range is 100
to 125 months[.]” Id. at 4:3–6. The transcript is incorrect. As indicated in the Court’s
order denying two of Davis’s motions for a reduction in sentence, the applicable
guidelines range was 120 to 125 months. See R. Doc. No. 366.
9 R. Doc. No. 217, at 9:2–7.
10 Id. at 12:11–14.



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to each of counts four, five, and six, all to be served concurrently. 11 The Court also

imposed an eight-year term of supervised release, which consisted of six years as to

each of counts three and seven and eight years as to each of counts four, five, and six,

all to be served concurrently. 12

      Following a direct appeal of his judgment of sentence, 13 which the Fifth Circuit

dismissed based on the waiver of appellate rights in his plea agreement, 14 Davis filed

a § 2255 petition. 15 Davis argued in his § 2255 petition that his attorney rendered

ineffective assistance of counsel by: failing to inform him of the consequences of

pleading guilty or the minimum and maximum sentences, failing to negotiate plea

agreements preserving additional constitutional rights or reducing the amount of

drugs to which he pleaded, and failing to file pretrial motions or to interview

witnesses. 16 Davis also contended that his sentence was unconstitutional in light of

Alleyne v. United States, 133 S. Ct. 2151 (2013), because the amount of drugs used to

calculate his sentence was “never proven.” 17

      This Court denied the petition, finding that, pursuant to his written plea

agreement, Davis knowingly and voluntarily waived his right to challenge his




11 R. Doc. No. 187, at 2.
12 R. Doc. No. 187, at 3.
13 R. Doc. No. 191.
14 R. Doc. No. 303. Specifically, the Fifth Circuit found that Davis’s waiver of appeal

of any sentence that did not exceed the statutory maximum was valid and
enforceable. United States v. Davis, 523 F. App’x 283, 286 (5th Cir. 2013).
15 R. Doc. No. 316.
16 Id. at 2, 11–16.
17 Id. at 13–15.



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conviction and sentence in a collateral proceeding, such as via a § 2255 petition. 18 The

Court further found that Davis’s attorney’s alleged ineffective assistance did not

directly affect the validity of the waiver or plea and, nonetheless, Davis’s claims failed

on the merits. 19

       Davis subsequently filed three motions 20 to reduce his sentence pursuant to 18

U.S.C. § 3582, each of which this Court denied. 21 Davis filed the instant motion 22 on

June 15, 2020, requesting that the Court vacate his sentence pursuant to Rule 60(b)

of the Federal Rules of Civil Procedure.

                                           II.

       Federal Rule of Civil Procedure 60(b) authorizes a court to “relieve a party or

its legal representative from a final judgment, order, or proceeding . . . [if] the

judgment is void . . . [or for] any other reason that justifies relief.” Fed. R. Civ. P.

60(b)(4), (6).   Courts must distinguish between motions under Rule 60(b) and

petitions seeking relief under 28 U.S.C. § 2255 to ensure that petitioners do not use

Rule 60(b) motions to “make an end-run around [§ 2255]’s exacting procedural

requirements.” United States v. Patton, 750 F. App’x 259, 263 (5th Cir. 2018); see

United States v. Jones, 796 F.3d 483, 484–85 (5th Cir. 2015) (citing 28 U.S.C. §

2244(b)(3)(A)) (requiring that habeas petitions filed under § 2255 receive prior




18 R. Doc. No. 329, at 7–10.
19 Id. at 10.
20 R. Doc. Nos. 343, 344, 410.
21 R. Doc. Nos. 366 & 411.
22 R. Doc. No. 429.



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authorization from a federal court of appeals before a defendant may file a “second or

successive” application in federal district court).

      A defendant’s motion for relief is properly brought under Rule 60(b) if the

defendant “merely asserts that a previous ruling which precluded a merits

determination was in error—for example, a denial for such reasons as failure to

exhaust, procedural default, or statute-of-limitations bar.” Patton, 750 F. App’x at

263 (quoting Gonzalez v. Crosby, 545 U.S. 524, 532 n.4 (2005)). To succeed on a Rule

60(b)(6) motion in a federal habeas proceeding, the movant must show “a non-merits-

based defect in the district court’s earlier decision on the federal habeas petition.” In

re Edwards, 865 F.3d 197, 204 (5th Cir.), cert. denied sub nom. Edwards v. Davis, 137

S. Ct. 909 (2017) (citing Ballantine v. Thaler, 626 F.3d 842, 847 (5th Cir. 2010)). A

Rule 60(b) motion is not considered a second or successive habeas petition if it

“attacks, not the substance of the federal court’s resolution of a claim on the merits,

but some defect in the integrity of the federal habeas proceedings.” Gonzalez, 545 U.S.

at 532.

      “[W]here a Rule 60(b) motion advances one or more substantive claims, as

opposed to a merely procedural claim, the motion should be construed as a successive

§ 2255 motion.” United States v. Hernandes, 708 F.3d 680, 681 (5th Cir. 2013) (citing

Gonzalez, 545 U.S. at 532 & n. 4). The Supreme Court has explained that “an attack

based on the movant’s own conduct, or his habeas counsel’s omissions . . . ordinarily

does not go to the integrity of the proceedings, but in effect asks for a second chance

to have the merits determined favorably.” Gonzalez, 545 U.S. at 532 n.5.



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                                          III.

      Davis argues that his judgment of sentence is void because “no one present at

the proceedings, pre-trial, re-arraignment, or sentencing, including defense counsel,

counsel for the government, the U.S. Probation Officer, or the Court, recognized or

presented that Movant’s prior conviction for possession of cocaine, in violation of

Louisiana Revised Statute Title 40 § 967(c)(2) . . . did not qualify as a ‘serious drug

felony’ for purposes of a Title 21 U.S.C. § 851(a) enhancement[.]” 23 Davis argues that

his prior state conviction, for which he received a two-year suspended sentence, did

not qualify as a “serious drug felony” because he “never served a continuous term of

imprisonment of more than twelve (12) months[.]” 24 Based upon this allegedly

erroneous conclusion, Davis contends that his statutory sentencing ranges were

wrongly increased from a range of five to forty years to a range of ten years to life

imprisonment for counts four, five, and six (violations of 21 U.S.C. § 841(b)(1)(B)),

and from a limit of not more than twenty years to a limit of not more than thirty years

for counts three and seven (violations of 21 U.S.C. § 841(b)(1)(C)). 25

      Davis also asserts that because the “Bill of Information to Establish Prior

Conviction” contained an inaccurate statement—namely, its failure to specify that

Davis’s two-year sentence for his prior state drug conviction was suspended—“all



23 R. Doc. No. 429-1, at 8–9. Section 851(a) provides that, before the government may
use a defendant’s prior conviction to subject him to increased punishment under §
841, the government must file “an information” with the court and serve a copy on
the defendant’s counsel stating in writing the previous convictions to be relied upon.
21 U.S.C. § 851(a).
24 R. Doc. No. 429-1, at 9.
25 Id.



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further proceedings . . . were conducted with a defect in their integrity,” which “led to

Movant being imprisoned for twenty (20) months longer than what Congress intended

for his offense.” 26

       Elsewhere in his motion, Davis argues that his sentence “is at minimum 43

months longer than intended by the Court,” because “[a]bsent the erroneous § 851(a)

information, Movant’s advisory range would have remained at 77 to 96 months.” 27

Davis reasons that, “assuming the Court would still have departed upward by 60

months, Movant would most likely [have] received a 137-month term of

imprisonment.” 28 According to Davis, a 137-month term of imprisonment, 43 months

fewer than the sentence the Court imposed, “was the Court’s intent” 29 and, therefore,

the Court must vacate his sentence. 30

                                          IV.

       The claim that Davis presents in his motion, which challenges the validity of

his underlying sentence, is substantive, rather than procedural. Accordingly, it must

be construed as a successive § 2255 petition. See United States v. Hill, 202 F. App’x



26 Id. at 10.
27 Id. at 11.
28 Id.
29 Id.
30 Id. at 11–12. Davis also argues that his sentence should be void because, following

Amendment 782 of the United States Sentencing Guidelines, his offense level would
have been decreased by two levels, resulting in an advisory range of 63 to 78 months.
Adding the upward departure of 60 months to the low-end of that range, Davis
contends, the Court would have imposed a 123-month term of imprisonment. Id. at
11. The Court does not address this argument, as it has previously considered and
rejected Davis’s motions for a sentence reduction pursuant to 18 U.S.C. § 3582(c) and
Amendment 782 of the United States Sentencing Guidelines. See R. Doc. Nos. 366 &
411.

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712, 713 (5th Cir. 2006) (“Because [the defendant] is challenging the validity of his

underlying sentence, his [Rule] 60(b)(4) motion should have been construed as

a successive 28 U.S.C. § 2255 motion.”). Davis’s argument that the Court erred in

calculating his sentence could have also been raised in an earlier petition. See United

States v. Orozco-Ramirez, 211 F.3d 862, 867 (5th Cir. 2000) (“[A] subsequent motion

is ‘second or successive’ when it: 1) raises a claim challenging the petitioner's

conviction or sentence that was or could have been raised in an earlier petition; or 2)

otherwise constitutes an abuse of the writ.”) (internal quotation marks and citation

omitted).

      Davis’s assertion that any proceeding following the government’s filing of the

bill of information was “conducted with a defect in [its] integrity” does not present

any specific argument as to why there was “some defect in the integrity of the federal

habeas proceedings.” See Gonzalez, 545 U.S. at 532.

      Furthermore, even assuming Davis’s motion is properly brought pursuant to

Rule 60(b), his claim lacks merit. First, the Court did not depart upwards from

Davis’s sentencing guidelines range based upon the sentence imposed for his prior

state drug conviction. 31 Rather, the Court departed upwards to a term of

imprisonment of 180 months after concluding that Davis’s criminal history category




31The presentence investigation report, which the Court considered in its entirety to
arrive at its sentence, see R. Doc. No. 217, at 12:15–16, noted that Davis was
sentenced to “2 years imprisonment, suspended” for his state court conviction for
possession of crack. R. Doc. No. 160, at 16 ¶ 73.

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substantially underrepresented the seriousness of his criminal history and the

likelihood that he would commit other crimes. 32

      Second, at the time Davis was sentenced, prior to the passage of the First Step

Act of 2018, both sections 841(b)(1)(B) and (C) provided for enhanced terms of

imprisonment if the defendant had a prior conviction for a felony drug offense. See

Pub. L. No. 103-322, § 90105(a), 108 Stat. 1796, 1987–88 (1994); 21 U.S.C. §

841(b)(1)(B), (C). Therefore, at the time Davis was sentenced, the Court properly

considered Davis’s prior state drug conviction as a felony drug offense, which

enhanced the statutory penalties. 33 This increased the statutory range for a violation

of section 841(b)(1)(B) from five to forty years to ten years to life, and the statutory

maximum for a violation of section 841(b)(1)(C) from twenty years to thirty years.




32 R. Doc. No. 217, at 9:2–7. Davis relies on United States v. Sapp, No. 96-225, 2008
WL 4724423 (S.D. Tex. Oct. 24, 2008) in support of his assertion that the sentence he
received did not comport with the Court’s intent. R. Doc. No. 429-1, at 11–12. In
Sapp, the record before the court clearly indicated that the sentencing court’s
intention was to sentence the petitioner to a term of imprisonment to run
concurrently with the petitioner’s state court sentence. 2008 WL 4724423, at *7–*8.
When the Bureau of Prisons (“BOP”) neglected to grant the petitioner credit for time
served for his state court sentence, he filed a Rule 60(b) motion. Id. The court granted
the motion, finding that the sentencing court erroneously depended upon the BOP to
award time served for the state conviction and that the petitioner was entitled to a
re-sentencing hearing. Id. at *8–*9. Unlike in Sapp, there is no evidence in the record
that indicates that the Court did not intend for Davis to serve 180 months in the
custody of the BOP.
33 The version of § 802 in effect when Davis was sentenced defined felony as “any

Federal or State offense classified by applicable Federal or State law as a felony.”
Pub. L. No. 91-513, § 102(13), 84 Stat. 1236, 1244 (1970); 21 U.S.C. § 802(13).
Louisiana law classified Davis’s prior conviction of possession of cocaine (crack) in
violation of La. R.S. § 40:967(C)(2) as a felony. See La. R.S. § 40:967(C)(2); La. R.S. §
14:2(A)(4).

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The Court’s sentence of 180 months (15 years) falls squarely within the permissible

statutory range.

      Third, Davis’s sentence would still be lawful even if it had been imposed

subsequent to the passage of the First Step Act. The First Step Act amended section

841(b)(1)(B) to require a prior conviction for a serious drug felony offense to enhance

the statutory penalties. See Pub. L. No. 115-391, § 401(a)(2), 132 Stat. 5194, 5220–21

(2018); 21 U.S.C. § 841(b)(1)(B). 34 Davis’s prior state drug conviction for possession

of cocaine would not qualify as such an offense. See 21 U.S.C. § 802(57); 18 U.S.C. §

924(e)(2). Accordingly, his statutory range of imprisonment would be five to forty

years for counts four, five, and six, and a maximum term of imprisonment of thirty

years for counts three and seven. See 21 U.S.C. § 841(b)(1)(B), (C). Davis’s sentence

of 180 months (15 years) still falls within this permissible statutory range.




34 The First Step Act did not amend § 841(b)(1)(C). See 21 U.S.C. § 841(b)(1)(C).
However, § 802 has been amended since Davis’s sentencing. Under the current
version of the statute, a “felony drug offense” is “an offense that is punishable by
imprisonment for more than one year under any law of the United States or of a State
or foreign country that prohibits or restricts conduct relating to narcotic drugs,
marihuana, anabolic steroids, or depressant or stimulant substances.” 21 U.S.C. §
802(44). Davis’s prior state drug conviction would still qualify as a “felony drug
offense” under this amended definition because, as Davis acknowledges in his motion,
possession of cocaine is punishable by imprisonment for more than one year under
Louisiana law. See R. Doc. No. 429-1, at 10; La. R.S. § 40:967(C)(2). Accordingly,
Davis’s maximum term of imprisonment for counts three and seven would still be
thirty years.

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                                        V.

      Accordingly,

      IT IS ORDERED that the motion is TRANSFERRED to the United States

Fifth Circuit Court of Appeals pursuant to 28 U.S.C. § 1631.

      New Orleans, Louisiana, August 3, 2020.



                                           ______________________________________
                                                    LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE




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